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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                EASTERN DIVISION

UNITED STATES OF AMERICA,

VS.                                             CRIMINAL ACTION NO. 1:06CR74-P-D

SHARINA SMITH, NICOLE SMITH,
ET AL.,                                                                         DEFENDANTS.

                                 ORDER CONTINUING TRIAL

        This matter comes before the court upon Defendant Sharina Smith’s Motion for Continuance

[98-1]. After due consideration of the motion, the court finds as follows, to-wit:

        Trial is currently set for October 2, 2006. Defense counsel avers that he needs a continuance

because he has another previously set trial on that date. The Government has no objection to the

continuance.

        The above circumstances enable the Court to exclude, pursuant to 18 U.S.C. section

3161(h)(8)(A), the period of delay from October 2, 2006 until the new trial date to be set in this

matter. The time is excludable under subsection (h)(8)(A) because, given the circumstances

described above, a continuance is necessary to afford the defendant’s counsel more time to

adequately prepare for his client’s defense. As such, the ends of justice served by the granting of this

continuance outweigh the best interests of the public and the defendant in a speedy trial.

        IT IS THEREFORE ORDERED AND ADJUDGED that:

        (1) Defendant Sharina Smith’s Motion for Continuance [15-1] is hereby GRANTED;

        (2) Trial of this matter as to Defendants Sharina Smith and Nicole Smith only is continued

        until Monday, November 13, 2006 at 9:00 a.m. in the United States Courthouse in



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       Greenville, Mississippi;

       (3) The delay from October 2, 2006 to November 13, 2006 is excluded from Speedy Trial

Act considerations as set out above;

       (4) The deadline for filing pretrial motions is October 23, 2006; and

       (5) The deadline for submitting a plea agreement is October 30, 2006.

       SO ORDERED this the 26th day of September, A.D., 2006.


                                                            /s/ W. Allen Pepper, Jr.
                                                            W. ALLEN PEPPER, JR.
                                                            UNITED STATES DISTRICT JUDGE




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